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AS.Doc#: 86:3 Filed: 05/30/23 1 of 12 PagelD #: 384

Employee: Tatiana Sherman, Workforce Project Manager
Supervisor: TZ Waters, Director of Workforce
Date: _12.-(8-55
Performance Improvement Plan Review
Task: Teamwork
Deficiency: Would often prefer not to collaborate whether with staff or departments.

Corrective Action: [tis important we all move ICC forward, Structures are changing but we often had to discuss which
department would get credit for a project. There seems to be competition between other staff and departments, which is not
aiways healthy for our division. We all need to wark together. When | recently asked Ms. Sherman to help an accountability

team, she checked on them, but then got paperwork to review later on her own, The team would have appreciated her being a
part of that solution when they were working on it.

Rating by Supervisor (select one)

DO Meets Expectations [] Does Not Meet Expectations Progress Made towards Meeting Expectations, but PIP
Extended Until toward end of May 2020

Comments by Supervisor

 

Mrs.Sherman has shown some efforts to work with the accountability staff and other department staff, however, her |
approach came across as unprofessional to some staff.

Based on interactions with other departmental staff. which a few expressed concerns to me about working with Mrs.
Sherman, A couple expressed they would be better off not having to work with her; a couple had expressed concerns of
retaliatory actions from Mrs. Sherman. One other staff from another department expressed confusion to me about Mrs.
Sherman’s repeat request on publicity of a company’s event which the final decision was communicated and explained to
Mrs. Sherman earlier.

Mrs. Sherman had asked if the Director would buy computer-software books for her classes because that was what Mrs.
Sherman did, When collaboration with staff to work out a way to share the college resources would be the effective
approach which she did not do so. Instead of researching, she suggested purchasing more books which the college does
have ample supply and also those books will become outdated soon. The Director had to research with another staff which
Mrs. Sherman did not do, to find out the inventory of books for classes and class schedules.

During a staff meeting, I had also asked Mrs. Sherman to work with another department to obtain the data she needed for
MEP reporting instead of granting Mrs. Sherman’s request to require staff from another department to attend our staff
meeting. The issue came up again about obtaining the data for MEP from this department, which she did not do, so | ended
up doing so. Mrs. Sherman would not work with the staff in this department to obtain the data she needs as part of her MEP
manager's responsibilities.

We all have to work as a team with many moving pieces, most staff will work to perform their job responsibilities in spite of
challenges in working with Mrs. Sherman. Nonetheless, Mrs. Sherman's approach to working with others can be improved
to enhance efficiency and effectiveness of our team and this division.

 

 

 

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Case, 1:21-cv-00190-GHB-DAS Pec #. 86-3 Filed: 05/30/23 2 of 12 PagelD #: 385

 

Comments from T. Sherman

Mrs. Waters scheduled a computer class at the same time | had an ongoing computer training class for the
public. Her trainer had to borrow books from my trainer 15 minutes prior to the training session. | assisted
Mrs. Waters! trainer with locating the books, and asked Mrs. Waters to buy more training materials for these
types of classes. Mrs, Waters reprimanded me for not knowing the department inventory for these books.

All MEP interactions come from the MEP data system. All project managers including Mrs. Waters must
provide data in the MEP system before accurate data can be reported to the State MEP Center by me, Mrs.
Waters incorrectly makes the statement that | refused to collect the data from a different department, Only

staff in the workforce department can use saleforce.com (MEP Data program}. | do not understand why she
is using this as negative feedback since she knows the process,

 

 

 

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Case: t2t-ev-00190-GHD-DAS Doc #: 86-3 Filed: 05/30/23 3 of 12 PagelD #: 386

Employee: Tatiana Sherman, Workforce Project Manager

Supervisor: TZ Waters, Director of Workforce

Date: i? [ase] 4

Task: Preparing quotes for companies for workforce training

Performance Improvement Pian Review

Deficiency: Quotes not worked on collaboratively, shared in a timely manner, not always accurate or detailed,

Corrective Action: Quotes should be reviewed by director and given to director in timely manner for proper review before
company. Project manager should pull afl past quotes/invoices for company and then compare to new prices. The final price
quoted to company will be determined by director and/or dean and project manager collaboratively taking into account the
new updated prices, past price history for company and quantity of training requested. As discussed in person, quotes should
be thorough. Anyone in company or school should be able to read the quote and understand the full scope of project. To

accomplish all of this, it must be explained to company that it could take a few days. A reasonable timeline is expected to
accomplish getting the quote correct.

Rating by Supervisor (select one)

C] Meets Expectations [Does Not Meet Expectations 1] Progress Made towards Meeting Expectations, but PIP
Extended Until toward end of May 2020

Comments by Supervisor

 

While Mrs. Sherman bas made some efforts, she does not always provide complete information to Director and Dean
when developing quotes and there were instances where corrections to content of the quotes had to be made.

There are instances where quotes contained typographical errors: adequate information was not presented to develop the
quote; the scope of work/training content contained conflicting information. In another instance, two different quotes
were created for the same training and presented for Director’s/Dean's approval.

Expectations on the quality of documents sent to entities outside the college should be professional, i.e, the content

should be accurate, understandable, and checked for typo errors or mistakes.

 

 

 

Comments from T. Sherman

Mrs. Waters micromanages my every step. She capitalizes on every little mistake | make such as using a semicolon
vs Calon, Belden Center vs ICC Belden Center, Excel Computer Skills Class vs Microsoft Excel Computer Skills. | used
the same terminology before for writing quotes in FY'29, and she did not correct me for the same verbiage then.
For FY20, | have created 17 quotes, and Mrs. Waters is not satisfied with four of my quotes. A trainer and nota

project manager provides the scope of work fora training program. | present all quotes to the team to work on
collahoratively.

l only receive a negative feedback in terms of reprimand and criticism in writing such as an email. it has
escelated in the last two months.

 

 

 

 

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Employee: Tatiana Sherman, Workforce Project Manager

Supervisor: TZ Waters, Director of Workforce

Date: lz lis 19

Task: Managing of projects

Performance Improvement Plan Review

Deficiency: Proper tracking of documentation and lateness of checks to companies

Corrective Action: Project manager should be pro-active in all things and track emails, quotes, invoices, checks and
communication with company representatives. A folder for each company should be created in outlook email. All
communication with company representatives should be Kept there. A file for each company should be created on the x: drive
and any documentation (quote, invoice, please pay, etc.) should be kept there for at feast $ years. Also track company
interactions and visits in outlook. Also track surveys and job placements for student pathways.

Project manager should be pro-active in tanaging the timeline of check reimbursement. Project manager should keep a

timeline of when paperwork is received. number and type of classes, approximate amount and record all data. Project manager
should set a reminder in outlook calendar about each batch of company paperwork.

» At 60 day mark, project manager should look into reimbursement paperwork and work collaboratively with accountability
and financial specialist to prioritize paperwork and try to cut a check within 30 days to company.

+ If there is some issue why that can't happen, please involve director and/or Dean so we can proactively work together to

solve resolution and collaboratively draft a response to the company about the delay and work on getting check cut in a timely
Manner,

Lastly, Project manager should order books and supplies for in-house and adjunct trainers. Project manager should provide
complete documentation for each class that they ask trainers to teach for company or individuals prior to class.
Rating by Supervisor (select one}

C) Meets Expectations [] Does Not Meet Expectations & Progress Made towards Meeting Expectations, but PIP
Extended Until toward end of May 2020

 

Comments by Supervisor

 

Fiscal year 2020 has a delayed start due to WESS closure until mid-September 2019. Mrs. Sherman has started to keep
track of a few companies’ paperwork for reimbursement on her Outlook calendar, reminders were not set for tracking
payments/invoices. The Project data tracking sheets were not follow through in several instances with signatures, dates,

and approximate total reimbursement dollars. Data Specialist saved documents like billing and memos to the compary
folders.

Mrs. Sherman has started to work with one trainer recently to determine the books he needed, She had also wrote up a few
requisitions. Project manager has not ordered books for the trainer, she gave the purchase requisition to data specialist to

order. There is a change in the departmental procedure, the books will be ordered by Project manager. Procedure has
been reviewed on November 25 staff meeting.

More time will be needed for the corrective action on reimbursement process due to the delayed opening (mid-late
September 2019) of MCCB WESS.

 

 

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Comments from T. Sherman
Clarifications needed:

AH updates for payments/invoices are part of the Data Specialist’s responsibilities who is
assigned as a point of contact between workforce department and business office. This

responsibility is not listed under project managers’ duties in our departmental guidebook. Is
this my deficiency?

Clarification needed for the second paragraph from Comments from Supervisor.

I followed the process of issuing purchase orders as it was written in the handbook for the
department until November 25. Mrs. Waters reprimanded me to another staff member by
saying “Tatiana did not follow the process". After Mrs. Waters reread the policies and
realized that she was incorrect, she verbally announced a change in the manual to meet her
new requirements. This change has not been presented to the team in writing as yet.

 

 

 

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Case 121.¢v-00190-GHD-DAS Doc #: 86-3 Filed: 05/30/23 7 of 12 PagelD #: 390

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Employee: Tatiana Sherman, Workforce Project Manager

Supervisor: TZ Waters, Director of Workforce

Date: t2 [5S

Performance Improvement Plan Review

Task: Clear and effective communication with team
Deficiency: Often relies on email when a conversation could be more clear and effective.

Corrective Action: Any major changes should be communicated in person and then followed up by email to document

changes, such as with entrepreneurship program stated in evaluation. Those kind of changes should be shared and discussed
with supervisors before sharing with external entities.

Quotes should be worked on collaboratively with Director as stated above.

Work within team to solve problems, not just via email or on your own. Most of these problems are complex with multiple
moving parts where paperwork might be on someone else’s desk. It can be much easier to 20 into a cofleague’s office or
huddle everyone up to solve a problem. Email should be used to summarize and clarify and document when needed,

Please work closely with accountability team and director, Help them input classes and participants into pro-assessment or be
willing to do anything as needed to move the project along. Hel p them total classes and correct for errors while they are doing

it, espectally if we are beyond 90 days on a reimbursement. Do not wait for someone to complete a task before you are part of
the process.

Please attend all assigned committees, division and college events, and any event assigned as other duties.

Rating by Supervisor (select one}

Ci Meets Expectations [ Does Not Meet Expectations [1 Progress Made towards Meeting Expectations, but PTP
Extended Until toward end of May 2020

Comments by Supervisor

 

While Mrs. Sherman has shown some efforts in working closely with Accountability team, Accountability team should
not be asked to be the primary in making decisions to determine whether paperwork meets guidelines for completeness
and accuracy. She deferred to other team members to make decisions on the company’s paperwork. Reviewing company
paperwork first hand for accuracy and completeness, and cafculating the reimbursements are core responsibilities of a
project manager. There were instances of inaccuracies on cafculations on the paperwork. Calculations on total dollar
reimbursements were not done consistently and documented on Project Tracking Sheet. The Director has communicated a
few times on the need to follow the process steps on the Project Tracking Sheet.

Communications when developing quotes can be improved with more information provided. In some cases, Mrs.
Sherman’s communication with other ICC staff and companies have caused some confusions. Mrs. Sherman’s
communication pattern often results in more questions, resulting in back and forth on email communications, when more
infonnation had to be asked of her to make decisions.

 

 

 

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Comments from T. Sherman

Mrs. Waters has incorrectly made statements about me referring to the accountability staff for making
ecisions on the amount of training hours to be reimbursed, All project managers check documentation

and assign training hours prior to any other staff member receiving the paperwork. Mrs. Waters made several
conflicting decisions about the amounts to be calculated for training hours eligible for reimbursement. Several
staff members expressed their disagreements with her in team meetings. Mrs. Waters allowed a company she is
working with to bypass her recommendations she issued regarding my companies. A staff member addressed
this decision with her by saying "how can a company with $0 people receive the same amount

in reimbursements as a company with 2500, and that is why this company is throwing red flags to

auditors”. The team suggested to Mrs. Waters that all companies should receive equal treatment.

Another staff member expressed to me their concern that "ICC is paying for companies! payrolls
vs reimbursing for training hours". When I brought it to Mrs. Waters’ attention, she instructed me to never

repeat this. Mrs. Waters admitted in front of the team that it is very hard for her to make decisions on what
is eligible for reimbursements.

In summary, the animosity towards me by my administrators in the WF department is rooted in their
fundamental lack of knowledge regarding state policies and project management. I had te bring up to my
administrators the fact that ICC has the technical capability to track the correct training hours for each
student/participant. They were completely unaware of this.

Mrs. Waters was dissatisfied with one of my projects since I did not include copies of invoices in the file for
the MCCB auditors. | advised Mrs. Waters to only use original invoices for all reimbursements since it is
required in the state workforce policies and were located in the appropriate department within the Belden
Center. MCCB auditors do not accept copies for state reimbursements. MCCB auditors labeled every file that
did not have originals in it as "pay back” during their site visit in November 2019.

Dean Lowder and Mrs. Waters met with one of my companies regarding training documentation and
recommendations MCCB auditors made during their visit in November 2019. They did not include me in this
conversation, yet, Mrs. Waters suggests I am the primary person to make decisions to keep

documentation compliant with MCCB standards. I had to collect my information from my company contact
about recommendations from the auditors. Mrs. Waters briefed me on the conversation, but the message

I received from the company was different from hers.

Last week Dean Lowder invited me to 4 company visit with one of my major customers on Friday afternoon

while the meeting was scheduled at 9.30 a.m. the following Monday, even though this meeting was scheduled
in advance between ICC staff and Dr, Allen.

 

 

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Mrs. Waters never communicates with me directly about any of my projects and classes. Instead, she writes
information or a question on sticky notes or email. Staff members expressed to me how uncomfortable
they are at being intermediaries to communicate with me since Mrs. Waters tells them things to tell me.

Several staff members are concerned about retaliation from Mrs. Waters for being friendly with me.

They expressed to me that they received negative feedback from talking to me on a casual basis or inviting
me to work related events.

Mrs. Waters has expressed negative comments about me to several individuals inside and outside af ICC.

Mrs. Waters reprimanded me three times about an annual budget for MEP. I was assigned this role a year
ago and have followed instructions explicitly from the former MEP Director and the current MEP State
Coordinator. Mrs. Waters reprimanded me twice in her emails on a recent Sunday evening. The last email
came at 10:21 p.m. I asked Mrs. Waters to meet with me the next day so ] could expiain the salaries, which
were already approved by the MEP State Coordinator. She did schedule a meeting with me on Monday
and confirmed she saw the reason I presented those numbers the way I did. She preferred to call the State
Coordinator. I asked her to include me in the conversation with the MEP Coordinator who confirmed I
used the salaries correctly. After Mrs. Waters stayed on the phone for a half an hour with the MEP

Coordinator, and questioned her repeatedly, the MEP Coordinator said, "Tatiana’s salaries are correct, but
you can do them the way you want”.

Mrs. Waters never has a private personnel meeting with me where her expectations are presented in a collegial
matter, Recently, one of my calleagues became very emotional in my office due to the way Mrs. Waters questioned
him/her concerning me. This staff member expressed to me haw he/she was concerned about me being

attacked by Mrs. Waters. The person apologized to me for Mrs. Waters. Another staff member came to me and
explained that he/she had to step up and say, “ Tatiana did her part” regarding the incident that brought verbal

criticisrn of me, | never responded to Mrs. Waters emails regarding this incident. Other staff members responded
forme.

 

 

 

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Case: t:2t-cv-66196-GHD-DAS Doc #-86-3 Filed: 05/30/23 10 of 12 PagelD #: 393

Employee: Tatiana Sherman, Workforce Project Manager

Supervisor: TZ Waters, Director of Workforce

Date: (2.{ She

Task: Peedback

Performance Improvement Plan Review

Deficiency: You have not been receptive to feedback

Corrective Action: Feedback given is for employee growth and to help the department move forward more effectively. It is
hot meant as a personal attack, but often is received that way. Also please do not deflect blame onto other people. If issues or

deficiencies arise with a team member, inform the Director at that time. Try to think of ways you can help move the issue
forward in a positive direction.

Rating by Supervisor (select one}

C) Meets Expectations Does Not Meet Expectations 1 Progress Made towards Meeting Expectations, but PIP
Extended Until toward end of May 2020

Comments by Supervisor

 

Mrs. Sherman has not received feedback well, and deflects the blame on others. When concerns were pointed out, while
she acknowledged the issues, she did not take responsibility for the issues, often she countered with how others involved
in the process were to be blamed as well. A company representative was confused about a communication with Ms.

Sherman on paperwork, and | briefed Ms. Sherman about the confusion. she did not take responsibility. { pointed out the

importance of following the process on tracking sheet on a few documents that Ms. Sherman did rot sign off, she pointed
out what other team members were not doing.

Mrs. Sherman exhibits a pattern of while acknowledging the issues, yet counters with her justifications and diverts blame
on others.

 

 

 

Comments from T. Sherman

Lonly receive negative feedback from Mrs. Waters. Individuals outside and inside of ICC warned me that] am “being

pushed aut”, Recently, my Dean referred to me ina very negative term to steff. This is damaging to my reputation
throughout the college,

{ was told by staff” Dean and Mrs. Waters “ were trying to get rid of you”. It has been discussed on ali campuses about
the letter | wrote regarding improprieties within the workforce department.

 

 

 

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Employee: Tatiana Sherman, Workforce Project Manager

Supervisor: TZ Waters, Director of Workforce

Date: 12 heh

Performance Improvement Plan Review
Task: Take direction from Director/Dean

Deficiency: Often questions directives from Dean/Director and does not accept direction without a prolonged push-back in
different forms.

Corrective Action: It is ok to question, that is needed in a healthy work environment and Ms. Sherman has made some good
points, but there is a limit to the push back that can result in delays and breakdowns between team members and external
partners. Director/Dean are sometimes at meetings or in conversations that you are not. Under no circumstance should an
external partner be called to counter the directive given as stated example in evaluation. Under no circumstance should
employee go to other employees or into their files to try find information that would invalidate supervisor’s directive.

Rating by Supervisor (select one)

Meets Expectations Does Not Mest Expectations ) Progress Made towards Meeting Expectations, but PIP
Extended Until toward end of May 2020

Comments by Supervisor

 

Mrs. Sherman has not accepted directives from the Director without much dissent and she undermines them. Directives

were not always followed. 1 spent more time than usual asking for information, reviewing calculations, quotes and
documents to external entities.

Toward the end of FY 19, companies had turned in more paperwork for Mrs. Sherman. Mrs. Sherman had been instructed
by the Dean and Director to let companies know there was no guarantee paperwork would be processed for reimbursement
and to work with Accountability specialist to see if there was money. Mrs. Sherman came in my office later that day, and
while I was on the phone, dropped off'a stack of paperwork on my desk and started to walk off. 1 stopped my phone

conversation and asked her what they were. She said paperwork from 4 companies, and I explained again far ber to work
with Accountability specialist,

Directive was given by the Dean for Mrs. Sherman, the Director and staff from another department to meet on a new
process and project. Mrs. Sherman being the project manager did not call for a meeting, but told the Director she had
already met with one of the staff and told the Director she could meet with the staff herself. The Director had to call the
meeting for ail to meet on the new process/project.

The Director had to explain again the MOA language on reimbursing fora company on a new process. Mrs. Sherman was
given the opportunity to review and provide feedback on the MOA for this new project prier to submittal.

Mrs. Sherman asked ifa purchase requisition can be approved and the budget number to use on an item that casts a few

thousand dollars, without providing complete information. The Director had to ask again for the information from Mrs.
Sherman.

Based on my interactions with Mrs. Sherman, she shows a pattern of often questioning directions from me and not
providing complete information when asked.

 

 

 

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Comments from T. Sherman

I need clarification regarding the start date of this review from Mrs. Waters.

The recommendation J received back in October from Dean Lowder was for Mrs. Waters to start
working with me beginning October 2019. What is the start date for this evaluation?

Mrs. Waters incorrectly makes a statement about me asking her to clarify the language in the MOA
about reimbursement for a company on a new process. I read the MOA and understood it. I gave

my tecommencation on project execution to Mrs. Waters. She did not take my recommendation and I
did not question her direction, knowing her decision did not follow the MOA, that would have been in
the company’s best interest. Her decision affects the company’s eligibility for reimbursement for this
semester. It also puts me in position of working during upcoming Christmas break.

Mrs. Waters expressed displeasure with me when I notified her that we could not reimburse twice per
same participant/student for the same day and time for training for a new company. She finally
changed her decision when another staff member agreed with my assessment and disagreed with Mrs.
Waters. Per Mrs. Waters’ instruction, the company was already notified that they

were receiving that second reimbursement. I had to call the company and apologize.

(need clarification about the purchase requisition Mrs. Waters is referring to in her comments, I
followed the standard process for issuing 4 purchase requisition for a company for a new class. The
company ordered books for participants for a class, signed the quote and I wrote a

purchase requisition for training materials. This has been the standard procedure for the last 16 years.
Mrs. Waters defined it as "not enough information for making a purchase”.

Tam hesitant to ask Mrs. Waters a question. In November of 2019, I received several comments from

ICC staff that “they are trying so hard to get rid of you and it is so bad, I even heard about it from a
different campus".

Mrs. Waters is never pleasant around me. | asked her this week in person why she has to be negative tewards

me at all times using examples from her emails. | asked her to seek information from me first-hand before she
demonstrates her displeasure.

 

 

 

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